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KELLER BENVENUTTI KIM LLP

                     SAN FRANCISCO, CALIFORNIA 94105
                      425 MARKET STREET, 26TH FLOOR




                                                              Proposed Counsel for Jelena McWilliams,
                                                         13   in her capacity as Chapter 11 Trustee for
                                                              Synapse Financial Technologies, Inc.
                                                         14

                                                         15                          UNITED STATES BANKRUPTCY COURT
                                                         16                           CENTRAL DISTRICT OF CALIFORNIA
                                                         17                            SAN FERNANDO VALLEY DIVISION
                                                         18                                               Case No. 1:24-bk-10646-MB
                                                              In re:
                                                         19                                               Chapter 11
                                                         20   SYNAPSE FINANCIAL TECHNOLOGIES,
                                                              INC.,                                       SUPPLEMENTAL DECLARATION
                                                         21                                               OF JANE KIM IN SUPPORT OF
                                                                                           Debtor.        CHAPTER 11 TRUSTEE’S
                                                         22                                               APPLICATION FOR ORDER
                                                                                                          AUTHORIZING EMPLOYMENT OF
                                                         23                                               KELLER BENVENUTTI KIM LLP AS
                                                                                                          LOCAL AND CONFLICTS COUNSEL
                                                         24

                                                         25

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                                                          1
                                                                     I, Jane Kim, hereby declare pursuant to 28 U.S.C. § 1746 as follows:
                                                          2
                                                                     1.      I have personal knowledge of the facts set forth below and, if called upon to testify,
                                                          3
                                                              would and could competently testify to the matters set forth in this supplemental declaration (the
                                                          4
                                                              “Supplemental Declaration”).
                                                          5
                                                                     2.      I am an attorney licensed to practice in the State of California and admitted to
                                                          6
                                                              practice before this Court. I am a partner of the firm Keller Benvenutti Kim LLP (“KBK” or the
                                                          7
                                                              “Firm”), proposed local and conflicts counsel to Jelena McWilliams, duly appointed Chapter 11
                                                          8
                                                              Trustee (the “Trustee”) for the bankruptcy estate of Synapse Financial Technologies, Inc. (the
                                                          9
                                                              “Debtor”) in the above-captioned chapter 11 case (the “Chapter 11 Case”).
                                                         10
                                                                     3.      I submit this supplemental declaration in support of the Chapter 11 Trustee’s
                                                         11
                                                              Application for Order Authorizing Employment of Keller Benvenutti Kim LLP as Local and
                                                         12
KELLER BENVENUTTI KIM LLP

                     SAN FRANCISCO, CALIFORNIA 94105
                      425 MARKET STREET, 26TH FLOOR




                                                              Conflicts Counsel [Dkt. 326] (the “Application”) 1 filed on July 23, 2024, in connection with the
                                                         13
                                                              Chapter 11 Case to provide certain disclosures in accordance with Title 11 of the United States
                                                         14
                                                              Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), the Federal Rules of Bankruptcy
                                                         15
                                                              Procedure (the “Bankruptcy Rules”) and the Local Bankruptcy Rules of the United States
                                                         16
                                                              Bankruptcy Court for the Central District of California (the “Local Rules”). Unless otherwise
                                                         17
                                                              stated in this declaration, I have personal knowledge of the facts hereinafter set forth. To the extent
                                                         18
                                                              that any information disclosed herein requires amendment or modification upon KBK’s
                                                         19
                                                              completion of further analysis, or as additional information becomes available to it, a further
                                                         20
                                                              supplemental declaration will be submitted to the Court reflecting such amended, supplemented,
                                                         21
                                                              or otherwise modified information.
                                                         22
                                                                                           KBK’S ESTIMATED FEES TO DATE
                                                         23
                                                                     KBK intends to apply to the Court for allowances of compensation and reimbursement of
                                                         24
                                                              expenses in accordance with the applicable provisions of the Bankruptcy Code, the Bankruptcy
                                                         25
                                                              Rules, the Local Rules, and any applicable orders of this Court for all professional services
                                                         26
                                                              performed and expenses incurred in the Chapter 11 Case. Subject to the foregoing, KBK intends
                                                         27
                                                              1
                                                                      Capitalized terms used but not otherwise defined herein shall have the meanings given to
                                                         28   such terms in the Application.
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   1   to charge for services rendered at KBK’s customary hourly rates that are in effect from time to
   2   time and to seek reimbursement according to its customary reimbursement policies. The following
   3   schedule sets forth the rates and estimated hours and fees billed by KBK professionals from May
   4   24, 2024, the date of the Trustee’s appointment, through July 31, 2024. KBK estimates a total of
   5   $17,620.00 in professional fees and $0.00 in reimbursable expenses incurred during this period.
   6

   7         Professional                Role          2024 Rate       Hours Billed    Estimated Fees
   8

   9    Jane Kim                   Partner                 $900.00               1.2          $1,080.00

  10    Thomas B. Rupp             Senior Counsel          $600.00             26.9          $16,140.00

  11    Colin Mitsuoka             Legal Assistant         $200.00               2.0            $400.00
  12

  13          The above professionals are likely to continue to render services at the foregoing rates in

  14   this Chapter 11 Case, together with such other professionals as KBK deems appropriate to staff on

  15   this matter, in accordance with and as described in the Application, at such professionals’ regular

  16   and customary hourly rates. KBK’s hourly rates are subject to periodic adjustments, as described

  17   in the Application. So long as KBK charges its regular hourly rates in effect at the time, the Trustee

  18   has consented to KBK’s annual and other periodic rate increases.

  19          The foregoing information is provided for informational purposes to comply with an

  20   informal information request from the United States Trustee in connection with the Application

  21   and is not an application for interim or final compensation. KBK understands that any payment

  22   of these estimated and additional professional fees will be subject to approval of the Bankruptcy

  23   Court and availability of estate funds to pay these expenses.

  24                                         [Signature on Next Page]

  25

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

425 Market Street, 26th Floor, San Francisco, California 94105

A true and correct copy of the foregoing document entitled: SUPPLEMENTAL DECLARATION OF JANE KIM IN
SUPPORT OF CHAPTER 11 TRUSTEE’S APPLICATION FOR ORDER AUTHORIZING EMPLOYMENT OF KELLER
BENVENUTTI KIM LLP AS LOCAL AND CONFLICTS COUNSEL will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
August 13, 2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) August 13, 2024, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) ____________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  August 13, 2024                    Colin Mitsuoka                                             /s/ Colin Mitsuoka
  Date                           Printed Name                                                   Signature



         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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                           Parties Served by The Court via Notice of Electronic Filing (NEF)



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                                                Parties Served by United States Mail


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